             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:15-cr-00085-MR-DLH


UNITED STATES OF AMERICA,            )
                                     )
                        Plaintiff,   )
                                     )
                   vs.               )             ORDER
                                     )
(1) JAMES DEE BALL;                  )
(2) KELSIE MARIE BUNCH;              )
(3) THERESA LORENE BURNS;            )
(4) ANNA MARIE POSTELL COCHRAN;      )
(5) THOMAS BART COCHRAN;             )
(6) JEREMIAH JEROME GIBBY;           )
(7) HOKE BENJAMIN CALEB HAYES;       )
(8) BRYAN KEITH JENKINS;             )
(9) RAY CHAD LEQUIRE;                )
(10) AMANDA BROOKE McKINNEY;         )
(11) MIRANDA NATIONS;                )
(12) TAMMIE LYNN PAYNE;              )
(13) BRANDI LYNN SMITH;              )
(14) GREGORY DANIEL STEEDLY; and     )
(15) CAIN HAMILTON STRICKLAND,       )
                                     )
                        Defendants.  )
____________________________________ )


     THIS MATTER is before the Court on the motions to continue filed by

Defendants Kelsie Marie Burch, Thomas Bart Cochran, Jeremiah Jerome

Gibby, Hoke Benjamin Caleb Hayes, Ray Chad Lequire, Miranda Nations,

Brandi Smith, Gregory Daniel Steedly, and Cain Hamilton Strickland. [Docs.



   Case 1:15-cr-00085-MR-WCM   Document 238   Filed 02/08/16   Page 1 of 4
213, 225, 226, 228, 230, 231, 232, 236, 237]. Defendant Anna Marie Postell

Cochran moves to join her co-defendants’ request for a continuance [Doc.

222]. Additionally, Defendants Theresa Lorene Burns, Anna Marie Postell

Cochran, Thomas Bart Cochran, and Bryan Keith Jenkins also move for an

extension of the deadline to file plea agreements in this matter. [Docs. 229,

233, 234, 235].

      On September 15, 2015, the above-referenced Defendants were

charged in an eleven-count Bill of Indictment with, inter alia, conspiracy to

distribute   and   possess    with   intent   to   distribute   a   quantity      of

methamphetamine, in violation of 21 U.S.C. § 846. [Doc. 3]. The Defendants

are currently scheduled for trial during the February 22, 2016 trial term.

      Several Defendants now move for a continuance of the trial date, citing

among other reasons the need for additional time to review the extensive

discovery produced by the Government and to engage in plea negotiations

and/or prepare for trial. The Government does not oppose the requested

continuance.

      For all of the reasons cited by the Defendants, the Court finds that if

the requested continuance were not granted, counsel would be denied “the

reasonable time necessary for effective preparation, taking into account the


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   Case 1:15-cr-00085-MR-WCM     Document 238      Filed 02/08/16   Page 2 of 4
exercise of due diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv). The Court further

finds that failure to continue these cases would result in a miscarriage of

justice. See 18 U.S.C. § 3161(h)(7)(B)(i). Because no motion for severance

has been granted, the continuance of the moving Defendants justifies the

continuance of their co-defendants as well. See 18 U.S.C. § 3161(h)(6)

(allowing for exclusion of “a reasonable period of delay when the defendant

is joined for trial with a codefendant as to whom the time for trial has not run

and no motion for severance has been granted”). For the reasons stated

herein, the ends of justice served by the granting of the continuance

outweigh the best interests of the public and the Defendants in a speedy trial.

See 18 U.S.C. § 3161(h)(7)(A).

      Accordingly, IT IS, THEREFORE, ORDERED that the motions filed by

the motions to continue filed by Defendants Kelsie Marie Burch, Thomas Bart

Cochran, Jeremiah Jerome Gibby, Hoke Benjamin Caleb Hayes, Ray Chad

Lequire, Miranda Nations, Brandi Smith, Gregory Daniel Steedly, and Cain

Hamilton Strickland. [Docs. 213, 222, 225, 226, 228, 230, 231, 232, 236,

237] are GRANTED, and all of the above-captioned Defendants are hereby

CONTINUED from the February 22, 2016 term in the Asheville Division.




                                       3



   Case 1:15-cr-00085-MR-WCM      Document 238    Filed 02/08/16   Page 3 of 4
        IT IS FURTHER ORDERED that the motions filed by Defendants

Theresa Lorene Burns, Anna Marie Postell Cochran, Thomas Bart Cochran,

and Bryan Keith Jenkins for an extension of the deadline to file plea

agreements in this matter [Docs. 229, 233, 234, 235] is GRANTED. Per the

Standard Arraignment Order entered in this case, the plea agreement filing

deadline is extended to the third Friday before the April 25, 2016 calendar

call.

        IT IS SO ORDERED.
                                Signed: February 8, 2016




                                          4



    Case 1:15-cr-00085-MR-WCM      Document 238            Filed 02/08/16   Page 4 of 4
